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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                 U.S. COURTHOUSE
     CATHERINE C. BLAKE                                                        101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                       (410) 962-3220
                                                                                     Fax (410) 962-6836


                                       July 30, 2020



 MEMORANDUM TO COUNSEL

        Re:      United States v. Lance Andre Lucas
                 Criminal No. CCB-20-0054


 Dear Counsel:

         This will confirm the results of our conference call today. The sentencing in this
 case has been scheduled for September 17, 2020, at 2:15 p.m., to be held
 remotely. Sentencing memoranda are due two weeks in advance. Counsel will be
 contacted to confirm the logistics of audio and video recording approximately one week
 before the proceeding.

        Despite the informal nature of this ruling, it shall constitute an Order of
 Court, and the Clerk is directed to docket it accordingly.


                                               Sincerely yours,


                                                       /S/

                                               Catherine C. Blake
                                               United States District Judge
